Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction



                             .,         UNITED STATES DISTRICT COURT,.,                                              ,          pj
                                                                                                                                      3: L tl
                                                                           for the
                                                                                                               t   c ,......_ ,-T C04 rnAT
                                                             Middle District of Tennessee

                                                                             Division

                                                                                                03 - 22 05 43
                                                                                     Case No.
                                                                                                (to be filled in by the Clerk's Office)
                    OLIVER BUCHANAN
                              Plaintiff(s)
(61,51te the fall name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write 'see attached" in the space and attach an additional
page with the fidl list of names)
                                  _V_

 William Lee, Governor of the State of Tennessee, in
              his official capacity; and
 David Rausch, Director of the Tennessee Bureau of
        Investigation, in his official capacity
                              Defendant(s)
(Write the fill name of each defendant who is being sued. If the
names ofall the defendants cannot fit in the space above, please
write "see attached" in the space and attach an additional page
with die frill list of names)



                                   COMPLAINT AND REQUEST FOR INJUNCTION


I.        The Parties to This Complaint
          A.        The Plaintiff(s)

                    Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                    needed.
                               Name                                      Oliver Buchanan
                               Street Address                            180 Wallace Road Unit # J5
                               City and County                           Nashville Davidson County
                               State and Zip Code                        TN 37211
                               Telephone Number                          615-968-1883
                               E-mail Address




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          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.
                     Defendant No. 1
                                Name                         William Lee
                                Job or Title (if known)      Governor of the State of Tennessee
                                Street Address               1ST   Floor, State Capitol
                                City and County              Nashville, Davidson County
                                State and Zip Code           TN 37243
                                Telephone Number             615-741-2001
                                E-mail Address (ifkno,vn)


                    Defendant No. 2
                               Name                          David Rausch
                               Job or Title (ifknown)        Director of the Tennessee Bureau of Investigation
                               Street Address                901 R.S. Gass Boulevard
                               City and County               Nashville, Davidson County
                               State and Zip Code            TN 37216
                               Telephone Number              615-744-4000
                               E-mail Address (ifknown)


                    Defendant No. 3
                               Name
                               Job or Title (ifkno,vn)
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number
                               E-mail Address (ifknown)


                    Defendant No. 4
                               Name
                               Job or Title (ifknown)
                               Street Address
                               City and County
                               State and Zip Code
                               Telephone Number


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                                E-mail Address (if known)


II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                 ® Federal question                               ❑ Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                    List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                    are at issue in this case.
                      Article I, Section 10 of the U.S. Constitution, 42 U.S.C. Section 1983



          B.        If the Basis for Jurisdiction Is Diversity of Citizenship

                    1.         The Plaintiff(s)

                               a.         If the plaintiff is an individual
                                          The plaintiff, (name)                                               , is a citizen of the
                                          State of (name)


                               b.         If the plaintiff is a corporation
                                          The plaintiff, (name)                                               , is incorporated
                                          under the laws of the State of (name)
                                          and has its principal place of business in the State of (name)



                               (If more than one plaintiff is named in the complaint, attach an additional page providing the
                               same information for each additional plaint)

                    2.         The Defendant(s)

                               a.         If the defendant is an individual
                                          The defendant, (name)                                                is a citizen of


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                                           the State of (name)                                            Or is a citizen of
                                           (foreign nation)




                                b.         If the defendant is a corporation
                                           The defendant,     (name)                                    , is incorporated under
                                          the laws of the State of (name)                                         , and has its
                                           principal place of business in the State of (name)
                                           Or is incorporated under the laws of (foreign nation)
                                          and has its principal place of business in (name)

                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy—the amount the plaintiff claims the defendant owes or the amount at
                                stake—is more than $75,000, not counting interest and costs of court, because (explain):




III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
          was involved and what each defendant did that caused the plaintiff harm or violated the plaintiffs rights,
          including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
          claitn and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
          needed.

         A.         Where did the events giving rise to your claim(s) occur?
                      Tennessee




         B.         What date and approximate time did the events giving rise to your claim(s) occur?




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                      2001 through present




          C.         What are the facts underlying your claim(s)? (For example: O'hat happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)
                      I was convicted of aggravated sexual battery in Davidson County Criminal Court in 1992. I was
                      released from custody in 2001 and was required to register as a sexual offender. In 2004, Tennessee
                      adopted the Tennessee Sexual Offender and Violent Sexual Offender, Registration, Verification, and
                      Tracking Act ("TSORA"). The Defendants are enforcing TSORA against me in violation of my right
                      against ex post facto punishment. I am subject to stringent registration and reporting requirements and
                      am severely limited in where I can live, work, and go. I have been prosecuted incarcerated multiple
                      times for sex offender registration violations. I am classified as a "violent sexual offender" and
                      required to register in person at least four times a year.



IV.       Irreparable Injury

         Explain why monetaiy damages at a later time would not adequately compensate you for the injuries you
         sustained, are sustaining, or will sustain as a result of the events described above, or why such compensation
         could not be measured.
         Without declaratory and injunctive relief, the Defendants will continue to enforce TSORA against me.




V.       Relief

         State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
         arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
         the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
         punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
         punitive money damages.




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          I am seeking declaratory and injunctive relief prohibiting the Defendants from continuing to enforce TSORA
          against me in violation of my constitutional right against ex post facto punishment.




VI.       Certification and Closing

          Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my knowledge, information,
          and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
          unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
          nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
          evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
          opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
          requirements of Rule 11.

          A.        For Parties Without an Attorney

                    I agree to provide the Clerk's Office with any changes to my address where case—related papers may be
                    served. I understand that my failure to keep a current address on file with the Clerk's Office may result
                    in the dismissal of my case.

                    Date of signing:                         07/19/2022


                    Signature of Plaintiff
                    Printed Name of Plaintiff                 Oliver Buchanan

         B.         For Attorneys

                    Date of signing:


                    Signature of Attorney
                    Printed Name of Attorney
                    Bar Number
                    Narne of Law Firm
                    Street Address
                    State and Zip Code
                    Telephone Number


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                     E-mail Address




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